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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

         v.                                             Case No. 21-MJ-00033

PETER HARDING,

                         Defendant.
                                              ORDER
       Based upon the representations in the Consent Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the currently scheduled status hearing on Tuesday, February 14, 2023,

be continued for good cause to Thursday, March 16, 2023, at 1 p.m.; and it is further

       ORDERED that the time between Tuesday, February 14, 2023, and Thursday, March 16,

2023, shall be excluded from calculation under the Speedy Trial Act, see 18 U.S.C. §

3161(h)(7)(A).

       The Court finds that the ends of justice served by the granting of such a continuance

outweighs the best interests of the public and the defendant in a speedy trial, as a continuance

will provide the parties additional time to continue negotiating a potential pretrial resolution.

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                                       UNITED STATES MAGISTRATE JUDGE
